         Case 1:19-cv-02108-DLF Document 29 Filed 06/10/22 Page 1 of 2




                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


  CITIZENS UNITED,

                 Plaintiff,

         v.
                                                             Civ. A. No. 19-2108 (DLF)
  UNITED STATES DEPARTMENT OF
  STATE,

                 Defendant.


                              DEFENDANT’S STATUS REPORT

       Defendant U.S. Department of State (the “Department”), by and through counsel, submits

this Status Report pursuant to the Court’s Minute Order dated April 12, 2022.

       On April 25, 2022, the Department transitioned to an “All Functions” hybrid work and

telework posture in the National Capital Region. Since the filing of Defendant’s last Status

Report on April 12, 2022, the Department issued an interim production on May 18, 2022. The

processing of records is still ongoing. The parties are also exchanging communications about

narrowing the scope of the remainder of the review. The Department plans to make its next

production on June 29, 2022, and to continue to make rolling productions every six weeks.

       In light of the above, Defendant proposes that the Court order Defendant to file another

Status Report on or before August 17, 2022, that provides a further update on the Department’s

processing of records in this case. A proposed order is attached.
       Case 1:19-cv-02108-DLF Document 29 Filed 06/10/22 Page 2 of 2




Dated: June 10, 2022               Respectfully submitted,
       Washington, DC
                                   MATTHEW M. GRAVES, D.C. Bar. #481052
                                   United States Attorney

                                   BRIAN P. HUDAK
                                   Chief, Civil Division

                                   By:           /s/ Daniel P. Schaefer
                                         DANIEL P. SCHAEFER, D.C. Bar # 996871
                                         Assistant United States Attorney
                                         601 D Street, NW
                                         Washington, DC 20530
                                         (202) 252-2531
                                         Daniel.Schaefer@usdoj.gov

                                   Counsel for Defendant




                                     2
